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         5.      That defendant Harold Moore ("defendant") is a natural person, who upon

 information and belief is a resident of the City of Richmond, Virginia and a duly-appointed

 police officer in the City of Richmond Police Department. Defendant is sued in his individual
 and official capacities.


         6.      That at all times relevant herein, defendant was the school resource officer at
 Fairfield Court Elementary School.

         7.     That on or about March 3, 2010, defendant entered the room in which Burton was
 a pupil ostensibly because another student was being disruptive.

        8.      That defendant grabbed Burton by her arm and pulled her out of the chair in
 which she was sitting.


        9.      That at the aforesaid time and place, defendant removed Burton from her
 classroom and took her into the hallway.

        10.     That without cause or justification, defendant removed Burton from the school
building, hand cuffed her and placed her in his police vehicle.

        11.     That defendant told Burton that he could take her to juvenile detention and she
would not see her mother.


        12.    That defendant placed Burton face down in the back seat of his police vehicle.
                  COUNT 1: VIOLATIONS OF 42 U.S.C. 1983: CUSTODY

        13.    That Burton restates, rellages and repleads the allegations contained in paragraphs
1 through 12, inclusive as if set forth herein again in detail.

       14.     In committing the acts complained of herein, defendant acted under color of state

law to deprive Burton of certain constitutionally protected rights under the Fourth, Fifth, and
Fourteenth Amendments to the Constitution of the United States including, but not limited to: a)
                                                  2
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 the right to be free from unreasonable searches and seizures; b) the right not to be deprived of

 liberty without due process of law; c) the right to be free from excessive use of force by persons
 acting under color of state law; and d) the right to be free from false arrest.

         15.     In violating Burtons' rights as set forth above and other rights that will be proven

 at trial, defendant acted under color of state law and conducted an unauthorized, warrantless

 illegal stop, search, and/or seizure of Burton. The illegal and warrantless stop set into motion the

 chain of events that led to an unauthorized and warrantless illegal search and/or seizure and the

 use of excessive force by defendant, in violation of Burtons' rights under the Fourth, Fifth and

 Fourteenth Amendments to the Constitution of the United States.

         16.     As a direct and proximate result of the violation of her constitutional rights by the

defendant, Burton suffered general and special damages as alleged in this Complaint and is
entitled to relief under 42 U.S.C §1983.

         17.    That as a result of the actions of defendant, Burton was caused to suffer and will

continue to suffer great pain, mental anguish and serious injuries, has been prevented from

transacting her business, has been hampered in the conduct of her personal activities; and Hall

has incurred and will incur in the future expenses to cure Burton.

        18.     The conduct of defendant was willful, malicious, oppressive and/or reckless, and

was of such a nature that punitive damages should be imposed in an amount commensurate with
the wrongful acts alleged herein.

                                              COUNT 2
                  Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983
                                      (Use of Excessive Force)

        19.    That Burton restates, rellages and repleads the allegations contained in paragraphs
1 through 18, inclusive as if set forth herein again in detail.

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         20.       The City of Richmond, Virginia, has adopted policies, procedures, practices or

 customs within the Richmond Police Department that allow, among other things, the conduct of
 school resource officers.


         21.       That the defendant violated Burton's rights to be free of excessive force and

 unreasonable seizures under the Fourth and Fourteenth Amendments to the Constitution of the

 United States.


        22.       As a result of the excessive force used against Burton by defendant, the Burton

 suffered serious personal injuries and is entitled to relief under 42 U.S.C. § 1983.

        23.       That as a result of the actions of defendant, Burton was caused to suffer and will

 continue to suffer great pain, mental anguish and serious injuries, has been prevented from

 transacting her business, has been hampered in the conduct of her personal activities; and Hall

has incurred and will incur in the future expenses to cure Burton.

        24.       The conduct of defendant was willful, malicious, oppressive and/or reckless, and

was of such a nature that punitive damages should be imposed in an amount commensurate with
the wrongful acts alleged herein.




                                               COUNT3
                                        Virginia Common Law
                                               (Assault)


       25.        That Burton restates, rellages and repleads the allegations contained in paragraphs
1 through 24, inclusive as if set forth herein again in detail.

       26.     Burton avers that the actions of the defendants breached a duty of care owed to

Burtons and others similarly situated not to assault them or cause them physical harm or injury,
except to the extent allowed by law.

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         27. Burton avers that the defendant knowingly, wantonly, intentionally, and with gross
  disregard for the rights of Burton, assaulted her.

         28.     That as a result of the actions of defendant, Burton was caused to suffer and will

  continue to suffer great pain, mental anguish and serious injuries, has been prevented from

 transacting her business, has been hampered in the conduct of her personal activities; and Hall
 has incurred and will incur in the future expenses to cure Burton.

         29.     The conduct of defendant was willful, malicious, oppressive and/or reckless, and
 was of such a nature that punitive damages should be imposed in an amount commensurate with
 the wrongful acts alleged herein.

                                               COUNT 4
                                        Virginia Common Law
                                         (False Imprisonment)

        30.     That Burton restates, rellages and repleads the allegations contained in paragraphs
 1 through 29, inclusive as if set forth herein again in detail.

        31      That the restraint and seizure of Burton by defendant was entirely without

probable cause or any sufficient legal excuse whatsoever and constituted false imprisonment.

        32.     That as a result of the actions of defendant, Burton was caused to suffer and will
continue to suffer great pain, mental anguish and serious injuries, has been prevented from
transacting her business, has been hampered in the conduct of her personal activities; and Hall
has incurred and will incur in the future expenses to cure Burton.

       33.     The conduct of defendant was willful, malicious, oppressive and/or reckless, and
was of such a nature that punitive damages should be imposed in an amount commensurate with
the wrongful acts alleged herein.
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       WHEREFORE plaintiffs moves for judgment against defendant, in the amount of

$1,000,000.00 compensatory damages, $350,000.00 punitive, pre-judgment interest, attorneys1
fees and her assessable costs of court.

       TRIAL BY JURY IS DEMANDED

                                                  Respectfully submitted,


                                                  KYSS BURTON by her mother, Sakia Hall,
                                                  as next friend,

                                                  SAKIA HALL



                                                 n                  c
                                                                    Counsel




Robert H. Smallenberg (VSB #35848)
Metropolitan Law Center, PLC
10035 Sliding Hill Rd, Ste 204
Ashland VA 23005
Tel. (804) 368-7612
Fax (804) 368-7615
E-Mail: rsmallenberg@metrolawva.com
